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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


JEREMY SALSBURG; XDG TRADING,                     )
LLC; EAGLE’S VIEW PARTNERS, LTD.;                 )
EAGLE’S VIEW MANAGEMENT, LP; and                  )
FIRST HORIZON BANK AS TRUSTEE FOR                 )
JET SUPPORT SERVICES, INC.,                       )       Case No. 1:21-CV-06343
                                                  )
                  Plaintiffs,                     )       Hon. Matthew F. Kennelly
                                                  )       Hon. Maria Valdez
                      v.                          )
                                                  )
INVESCO CAPITAL MANAGEMENT, LLC.                  )
                                                  )
                 Defendant.                       )
                                                  )



               DEFENDANT INVESCO CAPITAL MANAGEMENT, LLC’S
                      MOTION FOR SUMMARY JUDGMENT

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure and for the reasons set

 forth in Invesco Capital Management, LLC’s (“Invesco”) Memorandum of Law in Support of

 Defendant Invesco Capital Management, LLC’s Motion for Summary Judgment, Invesco

 respectfully moves this Court to enter summary judgment in its favor with respect to all

 remaining causes of action asserted against Invesco in Plaintiffs’ Complaint (Dkt. No. 1-1).

 As grounds, Invesco asserts that there are no genuine issues of material fact, and judgment is

 due to be entered against Plaintiffs on all remaining counts as a matter of law.

        WHEREFORE, Invesco respectfully requests that this Court enter summary judgment

 in Invesco’s favor and against Plaintiffs on all counts of Plaintiffs’ Complaint with prejudice

 and grant such other and further relief as this Court deems just and proper.
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Dated: June 2, 2023                   Respectfully submitted,


                                       /s/ Nicholas M. Berg

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                                CERTIFICATE OF SERVICE

       I, Nicholas M. Berg, hereby certify that the foregoing document was electronically filed on

June 2, 2023, and will be served upon the registered parties electronically via the Court’s ECF

Notice system.



                                            /s/ Nicholas M. Berg

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